                        Case 8:17-cr-00472-PX Document 1 Filed 08/28/17 Page 1 of 1
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AO 91 (Rev. I 1 / I 1) Criminal Complaint


            AUG 28 2017
                                            UNITED STATES DISTRICT COURT
               AT GREENBELT
         CLERK. U.S. DISTRICT COURT                                  for the
           DISTRICT OF MARYLAND
et                                    DEPUTY
                                                             District of Maryland

                   United States of America                            )                                                  11111
                                                                                          n--.2_2_927- ce_o
                              V.                                       )
                                                                       )       Case No.
                         Dawn J. Bennett
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                             Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of                  December 2014 to July 2017         in the county of            Montgomery        in the
                        District of               Maryland         , the defendant(s) violated:

             Code Section                                                         Offense Description
18 USC § 1343; § 1344; § 1014                       Wire Fraud; Bank Fraud; False Statements in Relation to Loan and Credit
                                                    Application.




          This criminal complaint is based on these facts:
See Affidavit




          0 Continued on the attached sheet.



                                                                                                   Complainant's signature

                                                                                                  SA Keith A. Custer/FBI
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:                             70/7
                                                                                                      Judge S signature

City and state:                         Greenbelt, Maryland                         Charles B. Day, United States Magistrate Judge
                                                                                                    Printed name and title
